AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            0:25-cv-00011-DLB-EBA

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for American Resources Insurance Company
 was recieved by me on 1/30/2025:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Norma Edwards, who is designated by law to accept service of process on behalf of
          X
                                    American Resources Insurance Company at 1111 Hillcrest Rd Ste 100, Mobile, AL 36695 on 01/31/2025 at 10:44
                                    AM; or

                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 150.00 for services, for a total of $ 150.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   02/03/2025
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                    Server's signature



                                                                                                                                                 Tracy Steigerwald
                                                                                                                                                   Printed name and title



                                                                                                            8565 Elizabeth Road
                                                                                                            Grand Bay, AL 36541


                                                                                                                                                     Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents, COMPLAINT FOR BREACH OF SURETY BOND; SUMMONS IN A CIVIL ACTION, to Norma
           Edwards who identified themselves as the boss authorized to accept with identity confirmed by subject stating their
           name. The individual accepted service with direct delivery. The individual appeared to be a brown-haired white female
           contact 45-55 years of age, 5'8"-5'10" tall and weighing 120-140 lbs. Paperwork delivered and handed to the manager
           of the company.




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